     Case 2:21-ap-01108-WB         Doc 7-2 Filed 07/16/21 Entered 07/16/21 16:19:08     Desc
                                    Proposed Order Page 1 of 2

       ROB BONTA
 1     Attorney General of California
       BRIAN D. WESLEY (STATE BAR NO. 219018)
 2     Supervising Deputy Attorney General
       TJ FOX (STATE BAR NO. 322938)
 3     Deputy Attorney General
        300 South Spring Street, Suite 1702
 4      Los Angeles, CA 90013
        Telephone: (213) 269-6000
 5      Facsimile: (619) 645-2581
        E-Mail: Brian.Wesley@doj.ca.gov
 6     Attorneys for Defendant California
       Department of Tax and Fee Administration
 7
     Bruce A Boice, Esq., SBN: 249296
 8     Law Office of Boice & Associates
       307 E. Chapman Ave., Suite 102
 9     Orange, CA
       TEL: 949-690-8647
10     FAX: 949-612-0859
     bboice@lawyer.com
11    Attorney for Plaintiff Eric Conrad

12                    IN THE UNITED STATES BANKRUPTCY COURT

13           CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

14

15   In re                                         Case No.: 2:21-bk-12802-WB

16   ERIC CONRAD,                                  Chapter 7

17                   Debtor.                       Adversary No.: 2:21-ap-01108-WB

18

19
                                                   ORDER APPROVING
                                                   STIPULATION FOR EXTENSION
20
                                                   OF TIME TO RESPOND TO
                                                   COMPLAINT
     ERIC CONRAD,
21
                      Plaintiff,                   Status Conference
22
     CALIFORNIA DEPARTMENT OF                      Date: August 24, 2021
23
                                                   Time: 2:00 PM
     TAX AND FEE ADMINISTRATION,                   Judge: Hon. Julia W. Brand
24
     a.k.a., STATE OF CALIFORNIA                   Location: 255 E Temple St., Courtroom
25   BOARD OF EQUALIZATION,                        1375, Los Angeles, CA 90012
26                    Defendant(s).
27                                                  -1-
     ___________________________________________________________________________________________
28   In re Eric Conrad                                     Case No.: 2:21-bk-12802-WB
     Order Approving Extension of Time
     Case 2:21-ap-01108-WB      Doc 7-2 Filed 07/16/21 Entered 07/16/21 16:19:08       Desc
                                 Proposed Order Page 2 of 2


 1         Pursuant to the Stipulation to Extend Time to Respond to Complaint filed with
 2   this Court on July 16, 2021 and good cause showing, it is ordered that Defendant
 3   California Department of Tax and Fee Administration shall have up to and including
 4   July 30, 2021 to submit an answer or otherwise respond to Plaintiff’s Complaint.
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     ___________________________________________________________________________________________
28   In re Eric Conrad                                    Case No.: 2:21-bk-12802-WB
     Order Approving Extension of Time
